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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )
              v.                            )                   8:05CR163
                                            )
ADAM SALINAS TREVINO,                       )                     ORDER
DANIEL LEE WALKER, and                      )
CLEO JO WALKER,                             )
                                            )
                     Defendants.            )
                                            )


      Following a telephonic hearing on the Motion to Continue Trial (#121) filed by Cleo
Jo Walker, I find that the motion should be granted and trial continued to December 6, 2005.

      IT IS ORDERED that defendant’s Motion to Continue Trial (#121) is granted, as
follows:

       1. Trial of this matter is continued to December 6, 2005.

       2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between November 1, 2005 and
December 6, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reasons stated in defendant's motion, and
considering the due diligence of counsel. Failure to deny this motion might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       DATED October 27, 2005.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
